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AO 24B         (Rev, 09/11) Judgment in a Criminal Case
               Sheet


                                            UNITED STATES DISTRICT COURT
                                                          MIDDLE DISTRICT OF ALABAMA

               UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                    V.

                        KHADIM JAWNEH                                                 Case Number: 2:15cr521-02-WKW
                                                                                      USM Number: 16200-002
                                                                                      David Vickers
                                                                                      Deiendant'.s Atwnsey
THE DEFENDANT:
  'pleadcd guilty to count(s)            3 of the Indictment on 2/25/2016
   pleaded nolo eontendere to Count(s)
   which was accepted by the court,
El was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicaled guilty of these offenses:

Title & Section                    Nature of Offense                                                                Offense Ended   Count

 18:1029(a)(3)                       Possession of Fifteen or More Counterfeit or                                    11/19/2015      3
                                          Unauthorized Access Devices




E Sec additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant io the
Sentencing Reform Act of 1994.
El The defendant has been found not guilty on count(s)
   'Counl(s)                                                51 is   E are dismissed on the motion of the United States.
         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all lines, restitution, costs, and special assessnnis inqosed by this judgment are fulLy paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes to economic circumstances,

                                                                            5/26/2016
                                                                            Oat - of JrnpCo.itioli 01 - .tudineni



                                                                            all.
                                                                            Signature of Judge

                                                                            W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                            Name of Judge                   Title of Judge



                                                                              We
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At) 243         (Rev. 09./11) Judgment in a Criminal Case
vi              Sheet 2— Imprisonment

                                                                                                                       Judgment Page: 2 of 6
     DEFENDANT: KHADIM JAWNEH
     CASE NUMBER: 2:15cr52102WKW


                                                                  IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
                 Time Served - 49 days.




         U The court makes the ft]lowing recommendations to the Bureau of Prisons:




         U The defendant is remanded to the custody of the United States Marshal.

         U The defendant shall surrender to the United States Marshal for this district:
             U at                         - ______ U am.             U p.m.        on

             U as nolilied by the United States Marshal.

         U The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             U before                    on

             U as notified by the United States Marshal.

             U as notified by the Probation or Pretrial Services Office.



                                                                         RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                             to

     a                                                      with a certified copy of this .iudgment.




                                                                                                          UNITED STATES MARSHAL



                                                                                 By
                                                                                                       DEPUTY UNITED STATES MARSHAL
                     Case 2:15-cr-00521-WKW-SRW Document 86 Filed 06/09/16 Page 3 of 6

AO 245B            (Rev. 091 1) Judgment in aCriininal Case
vi                 Sheet 3—Supervised Release


 DEFENDANT: KHADIM JAWNEH                                                                                                    Judgment Page: 3 of 6
 CASE NUMBER: 2:15cr521-02-WKW
                                                              SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall he on supervised release for a term of: 3 years



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days o release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 U          The above drug testing condition is suspended, based on the court's determination that the defendant poses a tow risk of
            future substance abuse. (Check, if applicable.)

 1.4( The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.                (Check, if applicable.)

     El The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ([applicable.)
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ci seq.)
     U as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, ([applicable)

     U The defendant shall participate in an approved program for domestic violence. (Check ([applicable.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that hwe been adopted by this court as well as with any additional conditions
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any, persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendanl shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcermntol'ficcr;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enlorcemnt agency without the
             permission of- the court; and

       3) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
                 Case 2:15-cr-00521-WKW-SRW Document 86 Filed 06/09/16 Page 4 of 6

AO 215B        (Rev. 09/1 1) Judgment in a Criminal Case
V1             Slieci 3C - Supervised Release


 DEFENDANT: KHADIM JAWNEH                                                                                   1udgmen Page: 4 of 6

 CASE NUMBER: 2:15cr521-02-WKW


                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a mental health treatment program approved by the United States Probation Office and
     contribute to the cost based on ability to pay and availability of third party payments.

     Defendant shall participate in a program of drug testing administered by the United States Probation Office as directed.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
                  Case 2:15-cr-00521-WKW-SRW Document 86 Filed 06/09/16 Page 5 of 6

AO 245B          (Rev. 09/11) Judgment in a Criminal Case
 I               Sheet 5—Criminal Monetary Penalties

                                                                                                                          Judgment Page; 5 of 6
     DEFENDANT: KHADIM JAWNEH
     CASE NUMBER: 2:15cr521-02-WKW
                                                    CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the sehedule of payments on Sheet 6.


                          Assessment                                         Fine                              Restitution
 TOTALS                   100.00                                         S                                     $0.00


     U The determination of restitution is deferred until                    . An Amended Judgmeni in a Criminal Case (40 245C) will be entered
         after such determination.

     U The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
                    y
         the priorit order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

     Name of Payee                                                    Total Loss*               Restitution Ordered Priority or Percentage




 TOTALS                                                                                 ROOM                      $0.00


 U        Restitution amount ordered pursuant to plea agreement $


 U        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full beibre the
                                      of
          fifteenth day after the date the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. * 3612(g).

 U        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          U the interest requirement is waived for the          U fine       U restitution.
          F1 the interest requirement for the          fl fine fl restitution is modified as follows:

 'Findings for the total anDunt of losses are required under Chaers 109A, liD, 11 DA, and 113A of Title iS for offenses committed on or afler
 September 13, 1994, but before April 23, 1996.
                Case 2:15-cr-00521-WKW-SRW Document 86 Filed 06/09/16 Page 6 of 6

AD 245B       (Rev 09/I1) Judgment in a Criminal Case
VL            Sheet S   Schedule olPaymenis

                                                                                                         Judgment Page: 6 of 6
 DEFENDANT:                                                    KHADIM                                 JAWNEH
 CASE NUMBER: 2:15cr521-02-WKW


                                                        SCHEDULE OF PAYMENTS

 Havin g assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    Eq" Lump sum paYment ofS 100.00                         - due immediately, balance due

                  not later than                                   ,or
                  in accordance Ll C,                    0,    fl E, or fl F below; or

 B         Payment to begin immediately (may be combined withC,                             0, or        F below); or

 C    E Payment in equal                           (e.g., weekly, monthly, quarterly) installments of S                          over a period of
                           (eg. months or years), to commence                       (e.g., 30 or 60days) after the date of this udgmcnt; or

 D    E Payment in equal                           (e.g., weekly, monthly, quarterly,) installments of $                         over a period of
                         (e.g., months or years). to commence                        (e.g., 30 or 60 davs) after release from imprisonment to a
           term of supervision: or

 E          Payment during the term of supervised release will commence within                  (e.g., 30or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post Office Box 711,
            Montgomery, ALabama 36 10 1.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All erimnal monetary penalties, except those payments made through the Federal Bureau ol'Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 E Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number, Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 E The defendant shall pay the cost of prosecution.
      The defendant shall pa y the following court cost(s):

 fl The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (S) costs, including cost of prosecution and court costs.
